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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

JAY CONNOR, individually
and on behalf of a class of all persons and
entities similarly situated,

                Plaintiff,

vs.                                                          Case No.      2:24-cv-06361-DCN

MY DOCTORS LIVE, LLC,
JORANT WELLNESS LLC,
and HEALTH AND LIFE
NETWORKING LLC

                Defendants.

                                CLASS ACTION COMPLAINT

                                     Preliminary Statement

        1.      Plaintiff Jay Connor brings this action under the Telephone Consumer Protection

                                  et seq., a federal statute enacted in response to widespread

public outrage about the proliferation of intrusive, nuisance telemarketing practices. See Mims v.

Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

        2.      The Plaintiff also brings this action pursuant to the South Carolina Telephone

Privacy Protection Act               , S.C. Code § 37-21-10 et. seq.

        3.      The SCTPPA prohibits a company from making a call to a South Carolina

telephone number that had been registered on the Do Not Call Registry, as Mr. Connor

prior to receiving the call.

        4.      Mr. Connor alleges that Jorant Wellness LLC and Health and Life Networking

LLC made telemarketing calls on behalf of My Doctors Live, LLC.
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       5.      Mr. Connor and putative class members never consented to receive these calls.

Because telemarketing campaigns generally place calls to hundreds of thousands or even

millions of potential customers en masse, Mr. Connor brings this action on behalf of a proposed

nationwide class of other persons who received illegal telemarketing calls from or on behalf of

Defendants.

       6.      A class action is the best means of obtaining redress for the Defendant wide-

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                               Parties

       7.      Plaintiff Jay Connor resides in Charleston, South Carolina.

       8.      Defendant Jorant Wellness LLC is a limited liability company.

       9.      Defendant Health and Life Networking LLC is a limited liability company.

       10.     Defendant My Doctors Live, LLC is a limited liability company.

                                       Jurisdiction & Venue

       11.     The Court has federal question jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227 et seq. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over

the SCTPPA claims as they arise from the same case and controversy, the telemarketing

campaign of the Defendants.

       12.     The Court has specific personal jurisdiction over the Defendants because the calls

at issue were made by Jorant Wellness and Health and Life Networking into this District.

Furthermore, the court has personal jurisdiction over My Doctors Live because it participated in

the telemarketing calls at issue and directed them into this District.
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        13.    Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claim   namely, the calls to Mr. Connor     occurred in this

District.



                                      Statutory Background

        14.    In 1991, Congress enacted the TCPA to regulate the explosive growth of the



                                                                                                      .

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The National Do Not Call Registry

        15.    In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing practices.

        16.




        17.    The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

        18.



Id.

        19.    The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of
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U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).



The SCTPPA


        20.     On May 18, 2018, the State of South Carolina signed into law the South Carolina

Telephone Privacy Protection Act, S.C. Code § 37-21-10 et. seq.

        21.     The SCTPPA prohibits, inter alia, a party from initiating, or causing to initiate, a

telephone solicitation to a South Carolina telephone number that has been listed on the National

Do Not Call Registry. See S.C. Code § 37-21-70.

        22.     The SCTPPA allows for aggrieved individuals to initiate an action and recover

$1,000 for each negligent violation and $5,000 for each willful violation of the SCTPPA. S.C.

Code § 37-21-80.

                                        Factual Allegations


Call to Mr. Connor

        23.     Mr. Connor

U.S.C. § 153(39).

        24.     Mr. Connor received the calls at issue to his XXX-557-5724 number.

        25.     That is a residential telephone line.

        26.     That line is used for personal calls.

        27.     The number called had been on the National Do Not Call Registry for more than

31 days prior to the calls at issue.

        28.     Health and Life Networking LLC made telemarketing calls to Mr. Connor on

behalf of My Doctors Live on September 24 (twice), 25, 26 and October 3, 2024.
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        29.     The calls began with Health and Life Networking LLC identifying themselves as



        30.     During the subsequent sales pitch, Mr. Connor was informed that he was going to



        31.     This was a reference to My Doctors Life.

        32.     When transferred, My Doctors Life promoted their medicine services and asked to



        33.     Mr. Connor asked to receive no more calls on the first September 24, 2024 call.

        34.     However, he still received the subsequent calls.

        35.     Jorant Wellness LLC made telemarketing calls to Mr. Connor on behalf of My

Doctors Live on October 11 and 17, 2024.

        36.



        37.     During the subsequent sales pitch, Mr. Connor was informed that he was going to

be connected to My Doctors Life so they could sell him a genetic screening test and bill his

insurance for it.

        38.     When he was attempted to be transferred My Doctors Life indicated that their call

representatives were busy and the call terminated.

        39.     Prior to the filing of the lawsuit, counsel for the Plaintiff sent a letter to all

Defendants regarding the calls alleged herein.

        40.     The Defendants did not deny making those calls or otherwise respond.

                                      Class Action Allegations


       43.      As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of Civil

Procedure, Plaintiff bring this action on behalf of classes of all other persons or entities similarly

situated throughout the United States.

       44.      The classes of persons Plaintiff propose to represent are tentatively defined as:
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NATIONAL DO NOT CALL REGISTRY CLASS:

                All persons in the United States whose (1) residential telephone numbers were on
                the National Do Not Call Registry for at least 31 days, (2) but who received more
                than one telemarketing call from or on behalf of Defendants, (3) within a 12-
                month period, (4) at any time in the period that begins four years before the date
                of filing this Complaint to trial.



SCTPPA CLASS:

       All persons with a South Carolina area code to whom (a) at any time from May 18, 2018
       (b) Defendants, or someone acting on their behalf (c) placed at least one telephone
       solicitation to a number registered on the National Do Not Call Registry.


       45.      Excluded from the classes are the Defendants, and any entities in which the

Defendants have a controlling interest, the Defendant agents and employees, any judge to



       46.      The classes as defined above are identifiable through phone records and phone

number databases that will be obtained through discovery.

       47.      The potential class members number at least in the thousands, since telemarketing

campaigns make calls to hundreds or thousands of individuals a day. Individual joinder of these

persons is impracticable.

       48.      Plaintiff is a member of both classes.

       49.      There are questions of law and fact common to Plaintiff and to the proposed

classes, including but not limited to the following:

             a. Whether the Defendants violated the TCPA by making multiple telemarketing

calls to individuals on the National Do Not Call Registry

             b. Whether the Defendants

consent for the call;
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              c. Whether the Defendants violated the SCTPPA by making calls to South Carolina

telephone numbers registered with the National Do Not Call Registry; and

              d. Whether Plaintiff and the class members are entitled to statutory damages because

of the Defendant actions.

        50.      Plaintiff s

like the claims of the classes, arise out of the same common course of conduct by the Defendants

and are based on the same legal and remedial theories.

        51.      Plaintiff is an adequate representative of the classes because his interests do not

conflict with the interests of the classes, he will fairly and adequately protect the interests of the

class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

        52.      In fact, the Plaintiff have foregone a simpler path to recovery by filing this matter

as a putative class action, as opposed to an individual claim.

        53.      The actions of the Defendants are generally applicable to the classes and to the

Plaintiff.

        54.      Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendants and/or its agents.

        55.      The likelihood that individual class members will prosecute separate actions is

remote due to the time and expense necessary to prosecute an individual case, and given the

small recoveries available through individual actions.


                                            Legal Claims

                                             Count One:
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                               Telephone Consumer Protection Act
                    Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
                (On Behalf of Plaintiff and the National Do Not Call Registry Class)

       56.        Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       57.        The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

purposes, to Plaintiff and members of the National Do Not Call Registry Class despite their

numbers being on the National Do Not Call Registry.

       58.        Defendant violations were negligent, willful, or knowing.

       59.        As a result of Defendant violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the National Do Not Call Registry Class are presumptively entitled to an award of

between $500 and $1,500 in damages for each call made.


                                              Count Two:
                                       Violation of the SCTPPA

       60.        Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       61.        The SCTPPA prohibits, inter alia, a party from initiating, or causing to initiate, a

telephone solicitation to an area code of the state of South Carolina to a number that is registered

on the National Do Not Call Registry.

       62.        The SCTPPA allows for aggrieved individuals to initiate an action and recover

$1,000 for each negligent violation and $5,000 for each willful violation of the SCTPPA, as well

                              . S.C. Code § 37-21-80.

                                             Relief Sought
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       For themselves and all class members, Plaintiff request the following relief:

       A.      Certification of the proposed classes;

       B.      Appointment of the Plaintiff as representatives of the classes;

       C.      Appointment of the undersigned counsel as counsel for the classes;

       D.      A declaration that Defendant and/or its affiliates, agents, and/or other related

                                                          and SCTPPA;

       E.      An order enjoining Defendant and/or its affiliates, agents, and/or other related

entities, as provided by law, from engaging in the unlawful conduct set forth herein;

       F.      An award to Plaintiff and the classes of damages,                              as

allowed by law;

       G.      Leave to amend this Complaint to conform to the evidence presented at trial; and

       H.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.

DATED this 7th day of November, 2024.

                                              PLAINTIFF,
                                              By his attorneys,

                                      By:     _s/ Dave Maxfield__________
                                              David A. Maxfield, Fed ID 6293
                                              P.O. Box 11865
                                              Columbia, SC 29211
                                              803-509-6800
                                              855-299-1656 (fax)
                                              dave@consumerlawsc.com

                                              Anthony I. Paronich
                                              Paronich Law, P.C.
                                              350 Lincoln Street, Suite 2400
                                              Hingham, MA 02043
                                              (508) 221-1510
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                                anthony@paronichlaw.com
